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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in compliance with D.N.J. LBR 9004-1(b)

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    Counsel to Arnold & Itkin LLP



    In re:                                                              Chapter 11

    LTL MANAGEMENT LLC,                                                 Case No. 23-12825 (MBK)

                                    Debtor. 1                           Hearing Date and Time:
                                                                        May 22, 2023 at 10:00 a.m. (ET)


                    NOTICE OF MOTION TO DISMISS BANKRUPTCY CASE

             PLEASE TAKE NOTICE that, on May 22, 2023 at 10:00 a.m., or as soon thereafter as

counsel may be heard, the law firm of Arnold & Itkin LLP (“Arnold & Itkin”), on behalf of

certain personal injury claimants represented by Arnold & Itkin (the “Movants”), through its

undersigned counsel, shall move before the Honorable Michael B. Kaplan, United States

Bankruptcy Judge, at the United States Bankruptcy Court, Clarkson S. Fisher U.S. Courthouse,

402 East State Street, Trenton, New Jersey 08608, for the entry of an order dismissing this case




1
 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
Street, New Brunswick, New Jersey 08933.


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pursuant to section 1112(b) of the Bankruptcy Code and Rule 1017 of the Federal Rules of

Bankruptcy Procedure (the “Motion”).

        PLEASE TAKE FURTHER NOTICE that, in support of the Motion, Arnold & Itkin

will rely upon the declaration of Laura Davis Jones and the memorandum of law submitted

herewith pursuant to D.N.J. LBR 9013-1(a).

        PLEASE TAKE FURTHER NOTICE that, pursuant to D.N.J. LBR 9013-2, responsive

papers, if any, must be filed with the Clerk of the Bankruptcy Court, Clarkson S. Fisher

Courthouse, 402 East State Street, Trenton, New Jersey 08608, and served upon (a) Arnold &

Itkin’s undersigned counsel, (b) Debtor’s counsel, (c) the proposed counsel to the Official

Committee of Talc Claimants, (d) the United States Trustee, and (e) any other party entitled to

notice no later than seven (7) days prior to the hearing.

        PLEASE TAKE FURTHER NOTICE that, unless an objection is timely filed and

served, the Motion will be deemed uncontested in accordance with D.N.J. LBR 9013-3(d) and

the relief may be granted without a hearing.




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Dated: May 1, 2023                   PACHULSKI STANG ZIEHL & JONES LLP


                                           By: /s/ Colin R. Robinson
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